                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )      Criminal No. 3:10-00215
                                                     )      Judge Trauger
                                                     )
[6] JEFFREY WAYNE CONNER                             )

                                            ORDER

       A hearing on the Petition to Revoke Supervision (Docket No. 305) was held on July 5,

2012. The defendant pled guilty to the violation, and the court finds that violation

ESTABLISHED. No further sanction is assessed at this time. The defendant will remain on

pretrial release with the present conditions.

       It is so ORDERED.

       Enter this 5th day of July 2012.


                                                     ___________________________________
                                                             ALETA A. TRAUGER
                                                           United States District Judge




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